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                                                                                                   U.S. DISTRICT COURT
                                                                                                       N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                MIDDLE DIVISION


PAMELA LEMONS,                                   )
       Plaintiff,                                )
v.                                               )
                                                 )
UNITED CREDIT SPECIALIST                         )
RECOVERY;                                        )
GUIDIVILLE RANCHERIA OF                          )    Civil Action No. 4:15-CV-368-VEH
CALIFORNIA;                                      )
MICHAEL DERRY;                                   )
JEFF WINTERS;                                    )
JOEY CAPO; and                                   )
DOE 1-5                                          )
.,………….Defendants.

                              SECOND AMENDED COMPLAINT
                                  (Jury Trial Demanded)

       1.       Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).



                                 JURISDICTION AND VENUE

       2.       This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

This District is of proper venue as Plaintiff is a resident within this District and Defendants

engaged in the harm alleged herein while Plaintiff so resided.



                                             PARTIES

        3.      Plaintiff, Pamela Lemons (hereinafter “Plaintiff” or “Ms. Lemons”), is a natural

person residing in Henagar, Alabama.




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       4. Defendant UNITED CREDIT SPECIALIST RECOVERY is believed to be a fictitious

business name for a debt collection enterprise owned and operated by Defendant GUIDIVILLE

RANCHERIA OF CALIFORNIA. Defendant UNITED CREDIT SPECIALIST RECOVERY is

located at 38 E. Ridgewood Ave., Ste 395 in Ridgewood, New Jersey.

       5. Defendant GUIDIVILLE RANCHERIA OF CALIFORNIA (hereinafter

“GUIDIVILLE”), located at 401 B Talmage Road in Ukiah, CA, is a Native American tribe that,

along with Defendant JEFF WINTERS, owns and operates Defendant UNITED CREDIT

SPECIALIST RECOVERY.

       6. Defendant MICHAEL DERRY is the chief executive officer of Defendant

GUIDIVILLE and responsible for the formation and operation of all of the tribe’s commercial

enterprises, including the debt collection enterprise of Defendant UNITED CREDIT

SPECIALIST RECOVERY.

       7. Defendant JEFF WINTERS is believed to be the manager//president/co-owner of

Defendant UNITED CREDIT SPECIALISTS RECOVERY, and responsible for the debt

collection policies and procedures of the company, including those giving rise to Plaintiff’s

causes of action herein.

       8. Defendant JOEY CAPO (hereinafter “CAPO”) was the Director of Operations of

UNITED CREDIT SPECIALIST RECOVERY during the alleged actions giving rise to

Plaintiff’s causes of action herein, and responsible for the debt collection policies and procedures

of the company, including those giving rise to Plaintiff’s causes of action herein.

       9.       Plaintiff is ignorant of the true names and capacities of the defendants sued herein

as DOE 1-5, and therefore sues these defendants by such fictitious names. Plaintiff will amend

this Complaint to allege the true names and capacities once ascertained. Plaintiff believes and



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thereon alleges that the fictitiously named defendants are responsible in some manner for the

occurrences herein alleged, and that such defendants are responsible to Plaintiff for damages

and/or monies owed.

        10. JEFF WINTERS, UNITED CREDIT SPECIALIST RECOVERY, MICHAEL

DERRY, GUIDIVILLE RANCHERIA OF CALIFORNIA, JOEY CAPO, and DOE 1-5 shall

hereafter be jointly referred to as “Defendants,” each directly or indirectly responsible for the

activities giving rise to each of Plaintiff’s causes of action herein.

        11. Defendants regularly operate as third-party debt collectors and are “debt collectors”

as defined by 15 U.S.C. 1692a.



                                   FACTUAL ALLEGATIONS

        12.     In October of 2013, UNITED CREDIT SPECIALIST (hereinafter “UNITED”)

called Ms. Lemons at her place of employment. Ms. Lemons advised UNITED that such calls

were prohibited at her place of employment.

        13.     On the morning of March 6, 2014 Defendant UNITED once again called Ms.

Lemons at her place of employment. Ms. Lemons once again advised UNITED not to call her at

work, asked that they stop calling her, and then hung up on UNITED. UNITED placed seven

additional calls to Ms. Lemon’s work number that morning. Ms. Lemons, a call center

representative, was required to answer the incoming calls. She advised UNITED again to stop

calling her at work. UNITED called again and asked to speak with the human resources dept.

Ms. Lemons terminated the call.

        14.     Unable to terminate UNITED’s calls to her place of employment, Ms. Lemons

retained counsel with Centennial Law Offices.



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        15.     Defendants JEFF WINTERS and CAPO, in their respective roles as

manager/president/co-owner and Director of Operations of Defendant UNITED CREDIT

SPECIALIST RECOVERY, each control and direct the debt collection policies and procedures

of the enterprise.

        16.     Defendant GUIDIVILLE, as owner/operator of Defendant UNITED CREDIT

SPECIALIST RECOVERY, is responsible for, aware of, authorizes, and directs UNITED

CREDIT SPECIALIST RECOVERY and its debt collection procedures.

        17.     Defendant MICHAEL DERRY, in his capacity as CEO of Defendant

GUIDIVILLE, is responsible for the creation and operations of Defendant GUIDIVILLE’S debt

collection enterprise UNITED CREDIT SPECIALIST RECOVERY and is aware of, authorizes,

and directs UNITED CREDIT SPECIALIST RECOVERY and its debt collection procedures.

        18.     Defendants GUIDIVILLE, UNITED CREDIT SPECIALISTS, MICHAEL

DERRY, JEFF WINTERS, and CAPO are directly or indirectly responsible for the debt

collection actions alleged herein.

        19.     Defendants GUIDIVILLE, MICHAEL DERRY, JEFF WINTERS, and CAPO,

and each of them, conspired to engage in unlawful debt collection activities for profit, including

those alleged herein, with the intent to escape liability through a myriad of fictitious business

names, including that of Defendant UNITED CREDIT SPECIALISTS. Further, Defendants

MICHAEL DERRY and JEFF WINTERS formed and/or operated the defendant debt collection

company as a tribal business in a bid to shelter it under a theory of tribal sovereign immunity

from state law claims.

        20.     As a direct result of the collection activity herein alleged, Ms. Lemons incurred

legal fees of $3,055.00.



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                                      CAUSES OF ACTION

                                             COUNT I

       21.     Plaintiff re-alleges paragraphs 1 through 20, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(a)(1) and 1692c(a)(2)

by causing continued contact, or continuing to contact, Plaintiff at her place of employment after

being advised of the prohibition.



                                      CAUSES OF ACTION

                                            COUNT II

       22.     Plaintiff re-alleges paragraphs 1 through 20, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692d by engaging in

conduct, or causing conduct, the natural consequence of which was to harass, oppress, or abuse

Plaintiff in connection with the collection of a debt.



                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, as follows:


       1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

       2.) For $3,055.00 for legal costs incurred in responding to unlawful collection activity;

       3.) For prejudgment interest in an amount to be proved at time of trial;

       4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k);

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       5.) For the costs of this lawsuit; and

       6.) For any other and further relief that the court considers proper.


                                         JURY DEMAND

       Plaintiff demands a jury trial.


Date: April 1, 2015                             s/ Robert Amador
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